Case 20-31519-pcm15   Doc 1   Filed 05/07/20
Case 20-31519-pcm15   Doc 1   Filed 05/07/20
Case 20-31519-pcm15   Doc 1   Filed 05/07/20
Case 20-31519-pcm15   Doc 1   Filed 05/07/20
Case 20-31519-pcm15   Doc 1   Filed 05/07/20
Case 20-31519-pcm15   Doc 1   Filed 05/07/20
Case 20-31519-pcm15   Doc 1   Filed 05/07/20
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Case 20-31519-pcm15   Doc 1   Filed 05/07/20
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Case 20-31519-pcm15   Doc 1   Filed 05/07/20
Case 20-31519-pcm15   Doc 1   Filed 05/07/20
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Attorneys for KSV Kofman Inc.
Foreign Representative


                           UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF OREGON

In re:
                                                       Case No.
Portland Winter Hawks, Inc.,
                                                       Chapter 15
                            Debtor in a Foreign
                                   Proceeding.         CHAPTER 15 LIST



         KSV Kofman Inc. (“KSV” or the “Receiver”), the Court-appointed receiver for Portland

Winter Hawks, Inc. (“PWH” or the “Debtor”) in a proceeding under Canada’s Bankruptcy and

Insolvency Act, R.S.C. 1985, c.B-3, as amended, pending before the Ontario Supreme Court of

Justice (Commercial List) at Toronto (the “Canadian Proceeding”), hereby files this list pursuant

to Federal Rule of Bankruptcy Procedure 1007(a)(4)(B):

Persons or Bodies Authorized to Administer Foreign Proceedings of the Debtor

         The Receiver is the foreign representative, as that term is defined in Section 101(24) of the

Bankruptcy Code, because it has been authorized by court order in the Canadian Proceeding to act




                                                  1
304940572 v1

                        Case 20-31519-pcm15           Doc 1   Filed 05/07/20
as the foreign representative for the Debtor and to prosecute this chapter 15 case. See Order

(appointing receiver) attached to chapter 15 Petition.

         The Receiver believes that, other than the Canadian Proceeding and this chapter 15 case,

there are no foreign proceedings pending with respect to the Debtor.

         The Receiver, and its attorneys authorized to act on its behalf with respect to the Debtor,

the Canadian Proceeding, and this chapter 15 case, are:

         KSV Kofman Inc.
         150 King Street West
         Suite 2308, Box 42
         Toronto, Ontario, M5H 1J9
         Canada
         (Receiver in the Canadian Proceeding)

         Bennett Jones LLP
         3400 One First Canadian Place
         P.O. Box 130
         Toronto, ON, M5X 1A4
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         (Counsel for the Receiver in the Canadian Proceeding)

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         Aiden Nelms
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         (Counsel for the Receiver in the Canadian Proceeding)

         Brandy A. Sargent
         Michael B. Lubic
         Robert B. McLellarn
         K&L Gates LLP
         One SW Columbia St., Suite 1900
         Portland, OR 97204
         (Counsel for the Receiver in this Chapter 15 Proceeding)

Parties to Litigation Pending in the United States in Which the Debtor is a Party

         The Receiver is not currently aware of any litigation pending in the United States in which

the Debtor is a party.


                                                  2
304940572 v1

                         Case 20-31519-pcm15          Doc 1   Filed 05/07/20
Entities Against Whom Provisional Relief is Being Sought Under 11 U.S.C. § 1519

         The Receiver seeks provisional relief on behalf of the Debtor to stay the execution or

transfer of assets of the Debtor and the application of Section 362 of the Bankruptcy Code in the

Debtor’s chapter 15 case on a provisional basis, against all known creditors of the Debtor and other

interested parties, including without limitation, the persons on the attached list.



Dated: May 7, 2020                                    K&L GATES LLP



                                                      By: /s/ Brandy A. Sargent
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                                                      Facsimile: +1 503 248 9085

                                                      Attorneys for KSV Kofman Inc.
                                                      Foreign Representative




                                                  3
304940572 v1

                       Case 20-31519-pcm15            Doc 1   Filed 05/07/20
                  PROVISIONAL RELIEF SERVICE LIST




                                     4
304940572 v1

               Case 20-31519-pcm15       Doc 1   Filed 05/07/20
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Secured Creditors

Bridging Finance Inc., as Agent
77 King Street West, Suite 2925
Toronto, ON M5K 1K7

Bank of Montreal/Banque de Montreal
350 7th Ave. S.W. 7th Floor
Calgary, AB T2P 3N9

Ford Credit Canada Leasing, a Division of Canadian Road Leasing Company
P.O. Box 2400
Edmonton, AB T5J 5C7


Other Creditors

Banner Bank
101 SW Main St.
Portland, OR 97204


Governmental Entities

Office of the United States Trustee
Stephen Arnot, Assistant U.S. Trustee
620 SW Main Street
Suite 213
Portland, OR 97205-3026


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                     Case 20-31519-pcm15      Doc 1   Filed 05/07/20
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Attn: ODR Bkcy
955 Center NE #353
Salem OR 97301-2555

IRS
PO Box 7346
Philadelphia PA 19101-7346

Franchisor

Western Hockey League
1, 3030 Sunridge Way N.E.
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TIY 7K4


Lessor

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Rip City Management, LLC
Attn: Benjamin R. Lauritsen, General Counsel
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Rip City Management, LLC
Attn: National Registered Agents, Inc.
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Receiver

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                     Case 20-31519-pcm15       Doc 1    Filed 05/07/20
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                    Case 20-31519-pcm15      Doc 1     Filed 05/07/20
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Avenir Sports Entertainment Corp.
Douglas Piper, Registered Agent
C/o Portland Winter Hawks
300 N. Winning Way
Portland, OR 97227

Portland Winter Hawks, Inc.
C/o TT Administrative Services, LLC, Registered Agent
888 SW Fifth Ave., Suite 1600
Portland, OR 97204

Audible Capital Corp.
Avenir Trading Corp.
1892244 Alberta Ltd.
Avenir Sports Entertainment Ltd.
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                     Case 20-31519-pcm15       Doc 1    Filed 05/07/20
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                     Case 20-31519-pcm15   Doc 1   Filed 05/07/20
